Case 1:21-cv-00307-JMS-WRP Document 1-1 Filed 07/12/21 Page 1 of 23         PageID.7




 ARNOLD THIELENS PHILLIPS #6640
 1188 Bishop Street, Ste. 2907
                                                                    Electronically Filed
 Honolulu, Hawaii 96813
 Phone: (808)781-1414                                               FIRST CIRCUIT
 Facsimile: (888)467-0555                                           1CCV-XX-XXXXXXX
                                                                    20-APR-2021
 Attorney for Plaintiff MA ARLENE ORSINE BATO                       06:56 PM
                                                                    Dkt. 1 CMPS
                  IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
                              STATE OF HAWAII


  MA ARLENE ORSINE BATO                       CIVIL NO.

  vs.                                         (NON-MOTOR VEHICLE TORT)

  TARGET CORPORATION, a foreign               COMPLAINT, PLAINTIFF'S REQUESTS
  corporation authorized to do business in    FOR PRODUCTION OF DOCUMENTS,
                                              REQUESTS FOR ANSWERS TO
  10; JANE DOES 1     10; DOE                 INTERROGATORIES TO DEFENDANT
  CORPORATIONS 1      10 DOE                  TARGET CORPORATION, INC; JURY
  PARTNERSHIPS 1  10; and DOE                 DEMAND; SUMMONS
  GOVERNMENTAL ENTITIES 1 10

  Defendants



                                     COMPLAINT


 Comes now, Plaintiff MA ARLENE ORSINE BATO, individually and by and through

 his attorney, ARNOLD T. PHILLIPS, II and brings this complaint against Defendants

 above-named, and in doing so, allege and aver as follows:

 1. At all relevant times herein, Plaintiff was a resident of the City and County of

 Honolulu, State of Hawaii.




                                      Exhibit "A"
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 2. That the Defendant TARGET CORPORATION, a foreign corporation incorporated in

 Minnesota, at 1000 Nicollet Mall, Minneapolis, MN authorized to do business in the State

 of Hawai'i conducting business in the City and County of Honolulu, State of Hawaii,

 whose registered agent is The Corporation Company, Inc., 1136 Union Mall Ste 301,

 Honolulu, Hawaii 96813 that June 8, 2019, that falsely arrested, held, assaulted and battered,

 and brought false criminal charges against the Plaintiff.


 3. Defendants JOHN DOES 1-10, JANE DOES 1-10, DOE CORPORATIONS 1-10,

 DOE PARTNERSHIPS 1-10, DOE NON-PROFIT ENTITIES 1-10, and DOE

 GOVERNMENTAL ENTITIES 1-10 (hereinafter referred to as "Doe Defendants") are

 persons, corporations, partnerships, business entities and/or governmental entities who

 acted in a negligent, wrongful or tortious manner which proximately caused or contributed

 to injuries and damages sustained by Plaintiff. Plaintiff has been unable to ascertain the

 names and identities of the above- named Doe Defendants from the investigation that has

 been conducted to date. Accordingly, Plaintiff has sued the unidentified Doe Defendants

 herein with fictitious names pursuant to Rule 17(d) of the Hawaii Rules of Civil Procedure,

 and Plaintiff will substitute the true names, identities, capacities, acts and/or admissions of

 the Doe Defendants when the same are ascertained.


 4. On or about the June 8, 2019, defendants, maliciously, and without probable cause

 therefor, assaulted, battered, charged the plaintiff with criminal activities and caused

 the plaintiff to be arrested, falsely imprisoned her, knowingly restraining the plaintiff
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 under circumstances which exposed the plaintiff to risk of serious injury.

 5. Further, on t June 8, 2019, the defendants, in addition to the unlawful arrest and

 false imprisonment of the plaintiff subjected h e r to assault and battery and the

 intentional infliction of emotional distress.

 6. That as a further direct and proximate result of the negligence of the defendants,

 thePlaintiff, MA ARLENE ORSINE BATO, has been forced to expend sums of money

 for hospitalization, x-rays, nurses, medical treatment and for medicine for the treatment of

 the aforesaid injuries to herself and for her criminal defense.

 7. And further, as a direct and proximate result of said negligence of defendants,

 Plaintiff MA ARLENE ORSINE BATO sustained severe and permanent injuries,

 scaring, suffered mental and emotional distress, loss of income and has incurred

 medical and rehabilitative.

 WHEREFORE, Plaintiff MA ARLENE ORSINE BATO prays for judgment against the

 Defendants, jointly and severely, as follows:

    1. General damages as shall be proven at trial;

    2. Special damages as shall be proven at trial;

    3. Punitive damages as allowed and proved at trial;

    4. Attorney's fees and cost awarded by the Court;

    5. Prejudgment interest; and

    6. Such other and further relief as the Court deems just under the circumstances.
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 DATED: Honolulu, Hawaii April 20, 2021




                                     ______/s/ Arnold T. Phillips II________
                                           Arnold T. Phillips II #6604
                                                  Attorney for Plaintiff
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 Attorney for Plaintiff MA ARLENE ORSINE BATO

                 IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
                             STATE OF HAWAII


  MA ARLENE ORSINE BATO                       CIVIL NO.

  vs.                                         (NON-MOTOR VEHICLE TORT)

  TARGET CORPORATION, a foreign               COMPLAINT;        PLAINTIFF'S
  corporation authorized to do business in    REQUESTS FOR PRODUCTION OF
                                       10;    DOCUMENTS,   REQUESTS    FOR
  JANE      DOES     1        10;    DOE      ANSWERS TO INTERROGATORIES
  CORPORATIONS 1                10 DOE        TO    DEFENDANT      TARGET
  PARTNERSHIPS 1           10; and DOE        CORPORATION,    INC;   JURY
  GOVERNMENTAL ENTITIES 1 10                  DEMAND; SUMMONS

  Defendants




     PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS AND
    REQUESTS FOR ANSWERS TO INTERROGATORIES TO DEFENDANT
                    TARGET CORPORATION

 TO: TARGET CORPORATION, a foreign corporation whose registered agent is The

 Corporation Company, Inc., 1136 Union Mall Ste 301, Honolulu, Hawaii 96813

        The Plaintiff requests Defendant - TARGET CORPORATION, a foreign

 corporation incorporated in Minnesota, at 1000 Nicollet Mall, Minneapolis, MN

 authorized to do business in the State of Hawai'i conducting business in the City
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 and County of Honolulu, State of Hawaii, whose registered agent is The

 Corporation Company, Inc., 1136 Union Mall Ste 301, Honolulu, Hawaii 96813 to

 answer separately and fully in writing and under oath, pursuant to Rule 33 and 34

 of the Hawaii Rules of Civil Procedure, this request for answers to interrogatories

 and for production of documents.


       PLEASE TAKE NOTICE that two copies of the answers to the discovery

 requests must be served upon the undersigned within thirty (30) days after the

 service thereof.


       These discovery requests shall be deemed continuing, pursuant to Rule 26(e)

 of the Hawaii Rules of Civil Procedure, to require supplemental answers if you

 obtain or recall further information between the time the answers are served and

 the time of trial. Answers may be inserted in the spaces provided in the

 interrogatories. If additional space is required in answering any interrogatory,

 please complete your answer on additional sheets bearing the same number of the

 discovery requests which you are responding to in that communication.


       Should you or your counsel or anyone representing your interests learn of

 any additionalperson or persons having knowledge relating to matters inquired into

 after answering the interrogatories and before trial, it is requested that you furnish

 the names of the persons to the undersigned, giving timely notice thereof, allowing

 Plaintiff to make her discovery.
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        Please be advised that failure to answer will be grounds for a motion to

 compel answers to these discovery requests, pursuant to the provisions of Rule 37

 of the Hawaii Rules of Civil Procedure.


        PLEASE NOTE that it is the specific direction of this discovery request that

 if a request for admission cannot be admitted that it shall be considered to be

 converted to an interrogatory and that the answering party be required to state the

 reason(s) why it cannot admit the statement.



 DEFINITIONS


 1.     "You" and "your" means any defendant - TARGET CORPORATION, a foreign

 corporation incorporated in Minnesota, at 1000 Nicollet Mall, Minneapolis, MN authorized

 to do business in the State of Hawai'i conducting business in the City and County of

 Honolulu, State of Hawaii, whose registered agent is The Corporation Company, Inc., 1136

 Union Mall Ste 301, Honolulu, Hawaii 96813; JOHN DOES 1-10; JANE DOES 1-10;

 DOE     CORPORATIONS          1-10;   DOE      PARTNERSHIPS         1-10;    and   DOE

 GOVERNMENTAL ENTITIES 1-10, Defendants and/or all other persons or entities

 acting or purporting to act on your behalf, including, without limitation, your

 investigator(s), insurance adjuster(s), present and former employees, and/or agent(s),

 contractor(s), and advisor(s) and their agents, employees and consultants.


 2.     "Person" includes, without limitation, any natural person, firm, company,
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 partnership, association, joint venture, sole proprietorship, organization, business trust,

 corporation, or any other group combination acting as a unit or other form of legal,

 business, non-profit, or governmental entity.

 3.     "Document" or "Writing" means and includes the original and any copy,

 regardless of origin or location, of any printed, typed, written, graphic or recorded

 materials or tangible thing of every kind, however produced or reproduced, in your

 possession, custody or control, and includes but is not limited to, any letters,

 correspondence, memoranda, telegrams, telexes, other communications, regulations,

 guidelines, directives, laws, statutes, ordinances (including all drafts of regulations,

 guidelines, directives, laws, statutes, ordinances), agreements, contracts, offers, proposals,

 prospectuses, ballots, tariffs, statements, bills, air bills, consignments notes, purchase

 orders, invoices, summaries, outlines, estimates, budgets, projections, cost analysis,

 damage calculations, bulletins, books, periodicals, newsletters, articles, brochures,

 advertisements, reports, logs, agenda, minutes, studies, charts, maps, drawings,

 schedules, plans, blueprints, sketches, schematics, models, surveys, printouts, cards,

 diaries, calendars, desk calendars, appointment books, photographs, slides, films

 (including negatives of photographs, slides and negatives), notes, drafts, worksheets,

 transcript, recording (mechanical, electrical typed or written including digital or

 computer records), email or any instrument or device which contains any information

 or from which any information can be derived or retrieved.


 4.     "Lawsuit" means MA ARLENE ORSINE BATO, Plaintiff, vs. TARGET
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 CORPORATION, a foreign corporation authorized to do business in the State of

 Hawai'i; JOHN DOES 1-10; JANE DOES 1-10; DOE CORPORATIONS 1-10; DOE

 PARTNERSHIPS 1-10; and DOE GOVERNMENTAL ENTITIES 1-10, Defendants,

 Defendants pending in the First Circuit Court of the State of Hawaii.


 5.      "Occurrence" as used herein means the personal injury involving the assault,

 battery, detention, arrest false arrest and charging of the Plaintiff for activities which

 occurred on June 8, 2019, at the TARGET store located at 4380 Lawehana Street, in

 the City and County of Honolulu HI.


 6.      "Identify," "Identity" or "Identification" when used with respect to a person or

 persons means to state:


      a. His or her name;


      b. His or her last known address; and


      c. His or her employer and the employer s address.


 7.      "Identify" "Identity" or "Identification" when used with respect to a document or

 documents means to state:

      a. The identity of person who signed it or under whose name the document(s) was
         issued;

      b. The identity of the addressee (and, if different, the identity of the recipient or
         recipients);


      c. The nature and substance of the document with sufficient particularities to
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            enable the same to be identified for purposes of production.


       d.    The date of the document(s);

       e.   The number of pages of the document(s)

       f. The identity of each person who has custody of the document(s) or any copies
            thereof;

       g. Whether the document is complete.


       h. If no longer complete, in what respects it is incomplete or altered and the
            reasons therefore.


       i.   If any such document is no longer existence. The disposition which was

            made of it, the date and the reasons for the disposition, and the identity of

            the person or persons who ordered and/or supervised such disposition. If any

            document responsive to an interrogatory has been produced by any party or

            non-party to this litigation, you may identify such production number that it

            bears rather than in the manner stated above.


  9.        "Identify," "identity" or "identification" when used with respect to an oral

  statement means to state:


       a. The date and place thereof.

       b. The identity of each person who participated in or heard any part of the oral
            statement; and

       c. The identity of the custodian of any document recorded, summarized or
            concerned the oral statement. If you claim privilege against producing
            any document and/or thing, please submit a list describing such
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        documents and/or things, including their originator, the persons to whom
        they were directed or copies, their date and who had seen them, and the
        reasons why you will not produce them.


  10.   You may attach any item in response to an interrogatory identified as

  such as part of the response to that interrogatory.


  DATED: Honolulu, Hawaii April 20, 2020




                                         ______/s/ Arnold T. Phillips II________
                                               Arnold T. Phillips II #6604
                                                 Attorney for Plaintiff
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      PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS AND
      REQUESTS FOR ANSWERS TO INTERROGATORIES TO DEFENDANT
                       TARGET CORPORATION



  INTERROGATORY NO. 1: Identify who has drafted and signed the answers to these

  interrogortories.

  RESPONSE:




  INTERROGATORY NO. 2: State whether there is an organizational chart(s) for the

  defendant, for individual stores, regions, state and/or national; if so, state the name and

  address of the custodian of the chart(s), or attach copy or copies of same to your answers

  to these interrogatories.


  RESPONSE:




  INTERROGATORY NO. 3:

  Identify each individual employee of the defendant TARGET CORPORATION who

  was involved in the occurrence of June 8, 2019, involving the Plaintiff explaining their

  role(s) and position(s) with the defendant TARGET CORPORATION they occupy

  including the identify and a list of any documents which they prepared relating to this

  occurrence.
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  RESPONSE:

  INTERROGATORY NO. 4: Identify each occurrence which happened in the sixty

  months prior to the incident of June 8, 2019, involving the Plaintiff at stores in the

  City and County of Honolulu which resulted in the Honolulu Police Department

  being called including the identity of the custodian of these records or a security

  incident report being made by the defendant TARGET CORPORATION.


  RESPONSE:




  INTERROGATORY NO. 5: Identify the document custodian(s) who has/have the

  personnel files for the employees of the defendant TARGET CORPORATION who

  was involved in the occurrence of June 8, 2019, involving the Plaintiff.

  RESPONSE:




  INTERROGATORY NO. 6: Identify any illness, physical disability or handicap

  involving    any    individual    employee     of   the   defendant     TARGET

  C O R P O R A T I O N who was involved in involved in the occurrence of June 8,

  2019, involving the Plaintiff.
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  RESPONSE:



  INTERROGATORY NO. 7: Identify any persons or video (or others recording

  system) which witnessed or made a video/electronic records of any the occurrence of

  June 8, 2019, involving the Plaintiff from one hour prior to the incident to one hour

  after the incident.

  RESPONSE:



  INTERROGATORY NO. 8: Identify any witnesses, photographs, movies, videos,

  diagrams or drawings contacted, made, or obtained related to the occurrence of June 8,

  2019, involving the Plaintiff including the actions which took place at the defendant

  TARGET CORPORATION's building inside, outside or off its property being used by that

  store location which involved this occurrence.


  RESPONSE:




  INTERROGATORY NO. 9: Identify with a description any and all reports, or similar such

  document, regarding the occurrence of June 8, 2019, involving the Plaintiff including the

  name of the report, the date, the preparer and the present custodian

  RESPONSE:
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  INTERROGATORY NO. 10: List the name of the insurance company, the type of coverage

  andpolicy amounts of any other or additional insurance coverage which might provide any

  manner of insurance for the incident.

  RESPONSE:




  INTERROGATORY NO. 11: Have you or any representatives observed or conversed with

  the Plaintiff since the incident if so state, date, place, time, person observing or conversing,

  whether any records of the observation or conversation was made and who is the custodian

  of such record.

  RESPONSE:




  INTERROGATORY NO. 12: Describe in your own words, in full detail, how the incident,

  subject of this lawsuit occurred, who was involved, when each significant part of the

  incident happened, who said what to whom, why was any statement made, beginning at

  least five minutes prior to and leading up to the incident.

  RESPONSE:
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  INTERROGATORY NO. 13: Identify any individuals who have worked for Target

  Corporation in the area/department of the company where the Plaintiff was present on June

  8, 2019, during the Relevant Time Period- the months of January - July 2019.

  RESPONSE:




  INTERROGATORY NO. 14: Identify any individuals or entities who have drafted,

  generated, transmitted, received, or stored documents or data related to the subject matter

  of this litigation. Include the physical work locations of those individuals or entities and

  the positions held by identified individuals during the Relevant Time Period.

  RESPONSE:




  INTERROGATORY NO. 15: Identify each personal computer that has been used during

  the Relevant Time Period to process, generate, transmit, receive, or store data related to

  the subject matter of this litigation. For each personal computer, identify:

     a. Computer type (e.g. laptop, desktop);
     b. Make, model, [and serial number];
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     c. User(s) assigned to the personal computer;
     d. Dates of operation;
     e. Installed operating system(s), including version number(s);
     f. Operating system upgrades, drive reformatting, data wipes, mass data deletions or
        overwrites that have occurred, and the dates those events occurred.

  RESPONSE:




  INTERROGATORY NO. 16: Identify each electronic communications system (e.g. email,

  instant messaging system) used to draft, generate, transmit, receive, or store

  communications related to the subject matter of this litigation. For each communications

  system, identify:

     a. Any version of a client/server software application package (i.e. Microsoft
        Outlook2000/Exchange 5.5 or Lotus Notes/Domino version 6);
     b. Dates each version was in use;
     c. Dates of any version upgrades or application changes;
     d. Numbers, locations, makes, and models of communication servers;
     e. Server storage capacity;
     f. Size of communication databases maintained;
     g. Number of system mailboxes/users;
     h. Methods of accessing system remotely (e.g. via OWA, Hotmail) \
     i. Methods of replicating data for archival purposes (e.g. to local hard drive or to
        a network drive);
     j. Individuals with administrative access to accounts;
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     k. Security features used, including password protection or encryption.
  RESPONSE:




  INTERROGATORY NO. 17: Identify any "home" directories, shared folders, or other

  locations on a network used during the Relevant Time Period to store electronic documents

  (e.g. memos, letters, statements, emails, research, investigations, spreadsheets,

  presentations, etc. without limitation).

  RESPONSE:




  INTERROGATORY NO. 18.               What is the written policy regarding Target Corporation

  Loss Prevention Associates or other designated security approaching and identifying

  themselves to customers or persons suspected of wrongdoing on Target Corporation

  property?

  RESPONSE
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  INTERROGATORY NO. 19.                Are Target Corporation Loss Prevention Associates

  trained on how to handle people suspected of panhandling on Target Corporation property?

  If so, cite to the specific section of any training materials used in this training.

  RESPONSE




  INTERROGATORY NO. 20.                What method do Target Corporation Security or Loss

  Prevention Associates use to identify themselves when approaching/contacting individuals

  suspected of wrongdoing on Target Corporation property?

  RESPONSE




  INTERROGATORY NO. 21: State the training that Target Corporation Security or Loss

  Prevention Associates and employees or contractors supplying these services are provided

  by Target Corporation for detention of shoplifting, solicitation, and panhandling suspects
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  by loss prevention and security personnel and for each training provide the title, topic, date,

  instructor, materials who is the document custodian of these records or provide these

  materials as part of the response to this interrogatory.


  RESPONSE:
Case 1:21-cv-00307-JMS-WRP Document 1-1 Filed 07/12/21 Page 21 of 23                PageID.27




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  Attorney for Plaintiff MA ARLENE ORSINE BATO

                   IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
                               STATE OF HAWAII

   MA ARLENE ORSINE BATO                             CIVIL NO.

   vs.                                               (NON-MOTOR VEHICLE TORT)

   TARGET CORPORATION, a foreign                     JURY DEMAND
   corporation authorized to do business in the
                                     10; JANE
   DOES 1 10; DOE CORPORATIONS 1
   10 DOE PARTNERSHIPS 1 10; and DOE
   GOVERNMENTAL ENTITIES 1 10

   Defendants


                                     JURY DEMAND


  Come now Plaintiff, MA ARLENE ORSINE BATO, by and through her attorney,

  ARNOLD T. PHILLIPS II, and filed this demand for a jury trial to decide the issues in this

  case accordingto their rights under the constitutions of the State of Hawaii and the United

  States of America.

  DATED: Honolulu, Hawaii April 20, 2020


                                            ______/s/ Arnold T. Phillips II________
                                                  Arnold T. Phillips II #6604
                                                      Attorney for Plaintiff
Case 1:21-cv-00307-JMS-WRP Document 1-1 Filed 07/12/21 Page 22 of 23               PageID.28




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  Attorney for Plaintiff MA ARLENE ORSINE BATO

                   IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
                               STATE OF HAWAII


   MA ARLENE ORSINE BATO                             CIVIL NO.

   vs.                                               (NON-MOTOR VEHICLE TORT)

   TARGET CORPORATION, a foreign                     SUMMONS
   corporation authorized to do business in the
                                     10; JANE
   DOES 1 10; DOE CORPORATIONS 1
   10 DOE PARTNERSHIPS 1 10; and DOE
   GOVERNMENTAL ENTITIES 1 10

   Defendants



                                        SUMMONS

  TARGET CORPORATION.
  Registered Agent
  The Corporation Company, Inc.
  1136 Union Mall Ste 301
  Honolulu, Hawaii 96813

         TO THE ABOVE-NAMED DEFENDANT TARGET CORPORATION, a foreign

  corporation authorized to do business in the State of Hawai'i.

         YOU are hereby summoned and required to file in court and serve upon Plaintiff s

  attorney, Arnold T. Phillips II, whose address is 1188 Bishop Street Ste. 2907, Honolulu,
Case 1:21-cv-00307-JMS-WRP Document 1-1 Filed 07/12/21 Page 23 of 23                  PageID.29




  HI 96813 an answer to the Complaint attached hereto. This action must be taken within

  twenty (20) days after service of this Summons exclusive of the day of service.


        If you fail to make your answer within the twenty-day limit, judgment by default

  will be taken against you for the relief demanded in the Complaint.


        This summons shall not be personally delivered between 10:00 PM and 6:00 AM

  on premises not open to the general public, unless a judge of the above entitled court

  permits, in writing on this summons, personal delivery during those hours.


        A failure to obey this summons may result in an entry of default and default against

  the disobeying person or party.


  DATED: Honolulu, Hawaii, April 20, 2021




                                                  Clerk of the above-entitled Court
